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                  Of Attorneys for Debtor-in-Possession




                                IN THE UNITED STATES BANKRUPTCY COURT

                                        FOR THE DISTRICT OF OREGON

          In re                                           Bankruptcy Case No.: 20-32571-dwh11

          U.S. Outdoor Holding LLC,                       DECLARATION OF EDWARD
                                                          ARINIELLO IN SUPPORT OF THE
                         Debtor-in-Possession             CHAPTER 11, SUBCHAPTER V, PLAN
                                                          DATED DECEMBER 3, 2020

                  I, Edward Ariniello, make this declaration in support of confirmation of U.S. Outdoor

      Holding LLC’s (“Debtor-in-Possession” or “Debtor”) Chapter 11, Subchapter V, Plan Dated

      December 3, 2020 (Doc. #90) (the "Plan") as may be amended at the Confirmation Hearing

      on January 21, 2021. I declare and state as follows:

                                                 BACKGROUND 1

                  1.    I am the managing member for the Debtor-in-Possession. I have first-hand

      knowledge of the facts stated in this declaration and, if called as a witness, could testify

      competently thereto.




      1The headings in bold type provided in this Declaration are strictly for the benefit of the
      parties and the Court and are not part of the Declarant’s sworn statement.

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                                                                                                 Attorneys at Law
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      11 U.S.C. § 1129(a)(1) - PLAN COMPLIANCE WITH THE BANKRUPTCY CODE

              2.    I believe the Plan complies with the applicable provisions of Title 11 of the

      United States Code (the “Bankruptcy Code”), including, without limitation, that the Plan

      properly designates classes of claims, classifies only substantially similar claims in the same

      class, provides adequate and proper means for implementation, and payments to creditors

      from the continuation of ongoing business operations sufficient for execution of the Plan.

      The Debtor is not a corporation. The Plan was not proposed with the principal purpose of

      the avoidance of taxes or the Securities Act of 1933, as amended.



      11 U.S.C. § 1129(a)(2) - PROPONENT OF PLAN COMPLIANCE WITH THE

      BANKRUPTCY CODE

              3.    I, as managing member of the proponent of the Plan, have complied with the

      applicable provisions of Title 11 of the United States Code.



      11 U.S.C. § 1129(a)(3) - PLAN PROPOSED IN GOOD FAITH

              4.    I believe the Plan has been proposed in good faith and not by any means

      forbidden by law.

              5.    I believe the Plan fully treats and pays all classes of creditors in a fashion

      consistent with the Bankruptcy Code.

              6.    The Debtor, by and through counsel, has appeared at all appearance-required

      hearings and have completed all court required reporting.

              7.    The Debtor has tried to disclose every piece of property, even when it may be

      determined not to have an interest in it outside of general business interest.


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              8.    I further believe that the Plan has an adequate means for implementation and

      provides for alternatives in the event of default.

              9.    During the performance of the Plan, not less than $594,390.13 will be paid to

      unsecured creditors on pre-petition claims from the Debtor’s post-petition income.



      11 U.S.C. § 1129(a)(4) - PAYMENT OF SERVICES, COSTS, OR EXPENSES

              10.   Any payment made or to be made by the Debtor, or by a person issuing

      securities or acquiring property under the Plan, for services or for costs and expenses in or

      in connection with the case, or in connection with the Plan and incident to the case, has

      been approved by, or is subject to the approval of, the Court as reasonable.

              11.   The Debtor has not made, and will not make, any payments for costs,

      expenses, or services provided by professionals in connection with this case outside of

      those approved by the Court. The Plan provides that Debtor-in-Possession's professionals

      are to be paid by Debtor-in-Possession on an administrative basis only after such fees are

      approved by the Court.



      11 U.S.C. § 1129(a)(5) - DISCLOSURE OF POST-PETITION MANAGEMENT AND

      EMPLOYMENT OF INSIDERS

              12.   I, as managing member of the proponent of the Plan, have disclosed the

      identity and affiliations of any individual proposed to serve, after confirmation of the Plan, as

      a director, officer, or voting trustee of Debtor-in-Possession, an affiliate of Debtor-in-

      Possession participating in a joint Plan with Debtor-in-Possession, or a successor to Debtor-

      in-Possession under the Plan; and the appointment to, or continuance in, such office of


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      such individual, is consistent with the interests of creditors and equity security holders and

      with public policy; and Debtor-in-Possession has disclosed the identity of any insider that

      will be employed or retained by the reorganized Debtor-in-Possession, and the nature of

      any compensation for such insider.



      11 U.S.C. § 1129(a)(6) - GOVERNMENT REGULATION OF RATES

              13.   No governmental regulatory commission has jurisdiction over the approval of

      the rates of the Debtor. The requirement that any governmental regulatory commission with

      jurisdiction, after confirmation of the Plan, over the rates of Debtor-in-Possession approve

      any rate change provided for in the Plan, or that such rate change is expressly conditioned

      on such approval, is inapplicable to Debtor or its Plan.



      11 U.S.C. § 1129(a)(7) - BEST INTEREST OF CREDITORS

              14.   The Plan provides that with respect to each impaired class of claims or

      interests each holder of a claim or interest of such class has accepted the Plan; or will

      receive or retain under the Plan on account of such claim or interest property of a value, as

      of the Effective Date of the Plan, that is not less than the amount that such holder would so

      receive or retain if Debtor-in-Possession were liquidated under Chapter 7 of Title 11 of the

      United States Code on such date; or if Section 1111(b)(2) of Title 11 of the United States

      Code applies to the claims of such class, each holder of a claim of such class will receive or

      retain under the Plan an account of such claim property of a value, as of the Effective Date

      of the Plan, that is not less than the value of such holder's interest in the estate's interest in

      the property that secures such claims.


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              15.   The Plan proposes a payout of not less than $594,390.13 on unsecured

      claims and, therefore, provides that unsecured creditors will receive under the Plan, on

      account of their claims, property having a value, as of the date of confirmation of the Plan,

      that is equal to the amount that such creditor would receive if the nonexempt assets were

      liquidated under a Chapter 7 case. Plan ¶ 4.



      11 U.S.C. § 1129(a)(9) - TREATMENT OF PRIORITY CLAIMS

              16.   The Debtor has no claims against it entitled to priority under Section 507(a)(1)

      for domestic support obligations.

              17.   Except to the extent that the holder of a particular claim has agreed to a

      different treatment of such claim, the Plan provides that with respect to a claim of a kind

      specified in Section 507(a)(2) or 507(a)(3) of Title 11 of the United States Code, on the

      Effective Date of the Plan, the holder of such claim will receive on account of such claim

      cash equal to the allowed amount of such claim.

              18.   Unless otherwise agreed in writing by the holder of an administrative claim, all

      administrative claims will be paid in accordance with the requirements of the Bankruptcy

      Code.

              19.   The Debtor has no claims against it entitled to priority under Section 507(a)(3),

      as that section applies only to involuntary petitions. This case was commenced voluntarily.

              20.   The Debtor believes that all claims entitled to priority under Section 507(a)(4)

      for wages, salaries, or commissions, including vacation, severance, and sick leave pay

      earned by an individual, or sales commissions earned by an individual or a corporation with

      only one employee have been satisfied post-petition.


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              21.     The Debtor believes that all claims entitled to priority under Section 507(a)(5)

      for pre-petition contributions to employee benefit plans have been satisfied post-petition.

              22.     The Debtor has no claims against it entitled to priority under Section 507(a)(6)

      as it does not own or operate a grain storage facility, and it has not acquired fish or fish

      produce from a United States fisherman.

              23.     The Debtor has no claims against it entitled to priority under Section 507(a)(7)

      for deposits related to the purchase, lease, or rental of property or the purchase of services

      for personal, family, or household use.

              24.     With respect to claims against the Debtor-in-Possession entitled to priority

      under Section 507(a)(8), including claims which would be entitled to priority under Section

      507(a)(8) but for the secured status of that claim, the Plan provides that the holder of such

      claim will receive on account of such claim regular installment payments in cash:

              (i)     pursuant to the stated annual payments contained in Exhibit 1 of the Plan, as

                      to be amended by Exhibit 1 attached hereto and discussed below;

              (ii)    on a pro rata basis over a period ending not later than 5 years after the date of

                      the order for relief under Section 301; and

              (iii)   priority claims under Section 507(a)(8) of an amount less than $2,000.00 may

                      be prepaid at any time as a matter of administrative convenience.

              25.     The Debtor has no claims against it entitled to priority under Section 507(a)(9)

      for any commitment by the Debtor for or to a Federal depository institutions regulatory

      agency (or predecessor to such agency) to maintain the capital of an insured depository

      institution.




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              26.    The Debtor has no claims against it entitled to priority under Section

      507(a)(10) for claims for death or personal injury resulting from the operation of a motor

      vehicle or vessel if such operation was unlawful because the debtor was intoxicated from

      using alcohol, a drug, or another substance.



      11 U.S.C. § 1129(a)(10) - ACCEPTANCE BY AN IMPAIRED CLASS

              27.    At least one class of claims that is impaired under the Plan has accepted the

      Plan, determined without including any acceptance of the Plan by any insider.



      11 U.S.C. § 1129(a)(11) - FEASIBILITY

              28.    Confirmation of the Plan is not likely to be followed by the liquidation, or the

      need for further financial reorganization, of the Debtor-in-Possession or any successor to

      Debtor-in-Possession under the Plan, unless such liquidation or reorganization is proposed

      in the Plan.

              29.    I have reviewed the financial statements and the projections for future income

      of the Debtor. The financial projections were prepared by Karissa Aleskus of the consulting

      firm CFO Selections, LLC, based on information I provided and with my participation, review

      and approval. I am familiar with the preparation of the projections. The projections

      attached as Exhibit 1 to the Plan contained several errors which have now been corrected.

      The corrected projections are attached hereto as Exhibit 1. Based on this review and my

      familiarity with the facts, I believe that the Debtor will be able to perform its obligations under

      the Plan, including all of its payment obligations.




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              30.     The income and expense numbers used in Debtor-in-Possession's projected

      budgets are realistic because they are based on existing income and expenses.



      11 U.S.C. 1129(a)(12) - PAYMENT OF U.S. TRUSTEE AND COURT FEES

              31.     All fees payable under Section 1930 of Title 28 of the United States Code, as

      determined by the Court at the Confirmation Hearing, have been paid or the Plan provides

      for the payment of all such fees on the Effective Date of the Plan.



      11 U.S.C. 1129(a)(13) - CONTINUATION OF RETIREE BENEFITS

              32.     The requirements for continuation of retiree benefits under Section

      1129(a)(13) are inapplicable because the Debtor is not obligated to pay for any retiree

      benefits.



      11 U.S.C. § 1129(a)(14) - PAYMENT OF DOMESTIC SUPPORT OBLIGATIONS

              33.     The Debtor has no, nor does it anticipate, any claims for domestic support

      obligation that first become payable after the date of the filing of the petition.



      11 U.S.C. § 1129(a)(16) - TRANSFERS OF PROPERTY

              34.     The requirement under Section 1129(a)(16) for confirmation of the Plan that all

      transfers of property under the Plan shall be made in accordance with any applicable

      provisions of nonbankruptcy law that govern the transfer of property by a corporation or trust

      is inapplicable as the Debtor is not a corporation or trust.




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      11 U.S.C. § 1191(b)

              35.    The Plan does not discriminate unfairly, and is fair and equitable, with respect

      to each class of claims or interests that is impaired under, and has not accepted, the Plan.

              36.    The Plan preserves the Debtor’s ability to continue to employ its employees

      and operate as a going concern.

              37.    I believe that all procedures used to distribute solicitation materials for the Plan

      and to tabulate the ballots were fair and conducted in accordance with the Bankruptcy

      Code, Bankruptcy Rules, the Local Bankruptcy Rules, and all other rules, laws, and

      regulations.

              I hereby declare that the above statements are true to the best of my knowledge and

      belief and that I understand the above statements are made for use as evidence in Court

      and are subject to penalty for perjury.

       Dated: January 18, 2021

                                                        /s/ Edward Ariniello            x
                                                            Edward Ariniello, Declarant




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                        Beginning Cash                                                        400,000    622,738     452,201    402,657


                                                                     CLAIM     INTEREST
            CLASS                  CREDITOR NAME                    AMOUNT       RATE   Due 1/31/21 Due 1/31/22 Due 1/31/23 Due 1/31/24
            Admin       Vanden Bos & Chapman                            50,000    0%         50,000       5,000       5,000           0
            Admin       CFO Selections, LLC                              5,000    0%          6,000       7,500       5,000           0
            Admin       Willamette Valley Accounting                     4,000    0%          4,000       4,000       4,000           0
            Admin       Solomon Trust (precautionary)                   30,000    0%         30,000           0           0           0
            Admin       Subchapter V Trustee                            10,000    0%         10,000           0           0           0
                                                        Subtotal:                          100,000      16,500      14,000            0

            Class 1     US Small Business Admin                        150,154    3.75%         5,117      8,772       8,772      8,772
            Class 2     Tecnica Group USA Corp                          50,298    4.25%         4,500     49,973           0          0
            Class 3     The Burton Corporation                          64,302    4.25%         8,200     61,335
            Class 4     National Funding Inc                            74,567    4.25%         9,500     71,136
            Class 5     IRS                                             92,734    3.00%         6,000     92,202
            Class 6     Multnomah County                                 1,610   16.00%         1,610          0           0          0
            Class 7     Solomon Trust (see Class 9)                    193,129    0.00%             0          0           0          0
            Class 8     Solomon Management (see Class 9)             1,269,785    0.00%             0          0           0          0
                                                    Subtotal:                                  34,927    283,418       8,772      8,772

            Priority    IRS                                             59,642   3.00%          6,000     57,094          0          0
            Priority    ODR                                             24,260   6.00%          3,000     24,079
            Priority    DCBS                                             1,127   6.00%          1,127          0          0          0
            Priority    Employment Dept                                 18,169   6.00%          2,500     17,765
                                                        Subtotal:                              12,627     98,938          0          0

            Class 9     General Unsecured Creditors                  3,600,085     0%               0     50,000     323,795    323,795
                                                        Subtotal:                                   0     50,000     323,795    323,795

                        Total Plan Payments:                                                  147,554    448,856     346,567    332,567
                        Net Cash Carry:                                                       252,446    173,882     105,634     70,090




        Exhibit 1 - Page 1 of 4
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                            US Outdoor Holding, LLC                                 % Inc.     Jan 21         Feb 21         Mar 21         Apr 21         May 21        Jun 21         Jul 21         Aug 21        Sep 21        Oct 21         Nov 21        Dec 21        2021

                            Income Statement Projections
                                Beginning Cash Balance                                        252,446.00     257,442.99     366,314.32     358,782.73     335,952.29    326,056.25     317,280.62     305,180.51    300,435.82    313,862.71     373,557.21    460,654.60
                                Post-Petition Financing                                                      250,000.00                                                                                                                                                        250,000
                                Revenue
                                    46100 · In-Store Sales                                      175,606        131,450        135,750         87,540        105,000       112,000        119,098        121,500       160,020       272,550        338,100       473,340      2,231,954
                                    46200 · eCommerce Sales
                                           46201 · Paypal                                        13,800         12,650         10,000         10,000         10,000        10,000         10,000         10,000        10,000        10,000         11,500        11,500       129,450
                                           46202 · Amazon                                         9,100          8,450          7,800          7,800          7,800         7,800          8,580          9,360         9,750        10,140         12,480        13,650       112,710
                                           46200 · eCommerce Sales - Other                       30,000         30,000         22,500         25,000         27,500        30,000         32,500         30,000        36,000        52,500         81,000        94,500       491,500
                                    46000 · Merchandise Sales - Other                             1,500          1,500          1,500                0              0       1,500          2,000          3,000         1,500                0             0              0     12,500
                                    48300 · Vendor Discounts Given                                       0              0              0                            0              0              0             0             0              0             0              0           0
                                    48500 · Refunds and Returns                                    -550           -550           -550           -550           -550          -478           -511           -494          -558          -726          -1,050        -1,197        -7,763




                     4
                                    49000 · Sponsorship and Commissions                                  0              0              0              0             0              0              0             0             0              0             0              0            0




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                                Total Revenue                                                   229,456        433,500        177,000        129,790        149,750       160,822        171,667        173,366       216,713       344,464        442,030       591,794      3,220,352
                                Cost of Goods Sold
                                    50000 · Cost of Goods Sold (Inventory)              50%     114,142        215,643         88,048         64,564         74,493        80,000         85,395         86,241       107,803       171,352        219,887       294,386      1,601,954
                                    50090 · Inventory - Freight -In                      0%         125            125            125            125            125           125            125            125           125           125            125           125         1,500
                                    50100 · Cost of Sales
                                           59700 · eComm | Online Services              10%       5,290          5,110          4,030          4,280          4,530         4,780          5,108          4,936         5,575         7,264         10,498        11,965        73,366
                                           59800 · Merchant Account Fees                 3%       7,572         14,306          5,841          4,283          4,942         5,307          5,665          5,721         7,152        11,367         14,587        19,529       106,272
                                    Total 50100 · Cost of Sales                         10%      12,862         19,416          9,871          8,563          9,472        10,087         10,773         10,657        12,727        18,631         25,085        31,494       179,638




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                                    55020 · Rental Fleet                                 0%             0              0                                         48         3,000          7,500             56            70           111          4,500         4,500        19,785
                                    65040 · Repair Shop Expenses                         0%         300                0                                         23               25         300             27            34           350            350           350         1,759
                                    68200 · Postage/ Shipping                            5%       2,645          2,555          2,015          2,140          2,265         2,390          2,554          2,468         2,788         3,632          5,249         5,983        36,683
                                Total COGS                                              70%     130,074        237,739        100,059         75,392         86,426        95,628        106,647         99,574       123,546       194,202        255,196       336,837      1,841,319




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                            Gross Profit                                                         99,382        195,761         76,941         54,398         63,324        65,194         65,020         73,793        93,167       150,262        186,835       254,956      1,379,033
                                Gross Margin %                                                     43%            45%            43%            42%            42%           41%            38%            43%           43%           44%            42%           43%           43%
                                Product Margin %                                                   50%           -17%            50%            50%            50%           50%            50%            50%           50%           50%            50%           50%           50%


                                Expense
                                    General & Administrative
                                           60211 · Fuel                                             125            125            125            125            125           125            125            125           125           125            125           125         1,500
                                           60201 · Automobile Expense - Other                       250            250            250            250            250           250            250            250           250           250            250           250         3,000




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                                           60300 · Parking and Tolls                                750                0              0              0              0             0              0              0             0             0              0             0           750
                                           60400 · Bank Service Charges - Other                         40             40             40             40          40               40             40          40            40               40          40               40          480
                                           61700 · Computer and Internet Expenses                 1,100          1,100          1,100          1,100          1,100         1,100          1,100          1,100         1,100         1,100          1,100         1,100        13,200
                                           63300 · Liability Insurance                            1,550          1,550          1,550          1,550          1,550         1,550          1,550          1,550         1,550         1,550          1,550         1,550        18,600
                                           64300 · Meals and Entertainment 50%                      150            150            150            150            150           150            150            150           150           150            150           150         1,800
                                           64310 · Meals and Entertainments 100%                    225            225            225            225            225           225            225            225           225           225            225           225         2,700
                                           64400 · Travel                                           200            200            200            200            200           200            200            200           200           200            200           200         2,400
                                           64900 · Office Supplies                                2,000            925            925            925            925           925            925            925           925           925            925           925        12,175
                                           64950 · Software Subscription Expense                    700            700            700            700            700           700            700            700           700           700            700           700         8,400
                                           66700 · Professional Fees                              2,500          2,500          2,500          2,500          2,500         2,500          2,500          2,500         2,500         2,500          2,500         2,500        30,000
                                           66900 · Reconciliation Discrepancies                         0              0              0              0              0             0              0              0             0             0              0             0            0
                            US Outdoor Holding, LLC                            % Inc.   Jan 21        Feb 21        Mar 21        Apr 21       May 21       Jun 21        Jul 21        Aug 21       Sep 21       Oct 21        Nov 21       Dec 21        2021

                                        68900 · Licenses and Fees                            450           450          450            450         450           450           450          450          450           450          450           450         5,400
                                    Total General & Administrative                        10,040         8,215         8,215         8,215        8,215        8,215         8,215         8,215        8,215        8,215         8,215        8,215       100,405
                                    Occupancy                                                                                              0            0            0             0             0            0            0             0            0            0
                                        61100 · Display & Decor Expense                      250           250          250            250         250           250           250          250          250           250          250           250         3,000
                                        63600 · Janitorial Expense                           150           150          150            150         150           150           150          150          150           150          150           150         1,800
                                        64800 · Furniture & Fixtures < $2500                 100           100          100            100         100           100           100          100          100           100          100           100         1,200
                                        66300 · Business Tax                               3,000         3,000         3,000         2,500        2,500        2,500         2,500         2,500        2,500        3,000         3,000        3,000        33,000
                                        67100 · Rent Expense                               9,000         9,000         9,000         9,000        9,000        9,000         9,000         9,000        9,000        9,000         9,000        9,000       108,000
                                        67200 · Repairs and Maintenance                      500           500          500            200         200          200            200          200          200           200          900           900         4,700
                                        67250 · Small Equipment                                  0             0             0             0            0            0             0             0            0            0             0            0            0
                                        68601 · Telephone Expense                            750           750          750            750         750           750           750          750          750           750          750           750         9,000
                                        68600 · Utilities - Other                          1,000         1,000         1,000         1,000        1,000        1,000         1,000         1,000        1,000        1,000         1,000        1,000        12,000




                     4
                                    Total Occupancy                                       14,750        14,750        14,750        13,950       13,950       13,950        13,950        13,950       13,950       14,450        15,150       15,150       172,700




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                                    Sales & Marketing                                                                                      0            0            0             0             0            0            0             0            0            0
                                        60180 · Advertising and Promotion                  8,000         8,000         7,000         7,000        7,000        7,000         7,000         7,000        7,000       10,000        10,000       10,000        88,000
                                        60184 · Dues and Memberships                         100           100          100            100         100           100           100          100          100           100          100           100         1,200
                                        60187 · Marketing/Public Relation                    200           200          200            500         500           500           500          500          500         1,500         1,500        1,500         8,100
                                        60188 · Events & Classes                                 0             0             0             0            0            0             0             0            0        500          500           500         1,500
                                        60189 · Trade Show Expenses                                                                        0            0        750           750          750          750           750          750           750         5,250
                                        64500 · Gifts < $25                                      0             0             0             0            0            0             0             0            0            0             0            0            0
                                        64600 · Gifts > $25                                      0             0             0             0            0             0             0            0            0             0            0            0            0




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                                        68300 · Printing/Reproduction                        300           300          300            300         300           300           300          300          300           300          300           300         3,600
                                        69600 · Consignment Sales Expense                        0             0             0             0            0             0             0            0            0             0            0            0            0
                                    Total Sales & Marketing                                8,600         8,600         7,600         7,900        7,900        8,650         8,650         8,650        8,650       13,150        13,150       13,150       107,650
                                    60000 · Payroll Expenses
                                        60031 · Hourly Labor                              34,440        29,400        28,140        22,190       18,760       18,760        21,560        22,820       23,800       28,980        36,288       36,540       321,678




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                                        60032 · Salary Labor                              16,000        16,000        16,000        16,000       16,000       16,000        16,000        16,000       16,000       16,000        16,000       16,000       192,000
                                        60050 · Federal Payroll Taxes                      4,287         3,859         3,752         3,246        2,955        2,955         3,193         3,300        3,383        3,823         4,444        4,466        43,663
                                        60060 · State Payroll Taxes                        2,018         1,816         1,766         1,528        1,390        1,390         1,502         1,553        1,592        1,799         2,092        2,102        20,547
                                        63400 · Worker's Compensation                        200           200          200            200          50               50            50        50           50               50       200           200         1,500
                                        66400 · Pension Plan                                 300           300          300            300         300           300           300          300          300           300          300           300         3,600
                                        66500 · Medical/ Dental Insurance                  3,500         3,500         3,500         3,500        3,500        3,500         3,500         3,500        3,500        3,500         3,500        3,500        42,000
                                        66550 · Other Employee Benefits                      100           100          100            100         100           100           100          100          100           100          100           100         1,200
                                        66800 · Recruiting Expenses                              50            50            50            0            0            0             0             0       100           100          150               50          550




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                                        68500 · Uniforms                                         0             0             0             0            0            0             0             0            0            0         48               0           48
                                        60000 · Payroll Expenses - Other                     100           100          100            100         100           100           100          100          100           100          100           100         1,200
                                    Total 60000 · Payroll Expenses                        60,995        55,325        53,908        47,164       43,155       43,155        46,305        47,723       48,925       54,753        63,222       63,358       627,986


                                Total Expense                                             94,385        86,890        84,473        77,229       73,220       73,970        77,120        78,538       79,740       90,568        99,737       99,873      1,008,741


                                Net Income                                                 4,997       108,871        -7,532       -22,830       -9,896       -8,776       -12,100        -4,745       13,427       59,695        87,097      155,084       370,292
              US Outdoor Holding, LLC                Forecast      Forecast      Forecast
              Income Statement & Projections          2021          2022          2023

                         In-Store Sales                2,231,954     2,410,511     2,506,931
                         eCommerce Sales                 733,660       792,353       824,047
                         Merchandise Sales - Other        12,500        13,500        14,040
              Total Revenue                            3,220,352     3,207,980     3,336,299
              Total COGS                               1,841,319     1,901,553     1,977,615
          Gross Profit                                 1,379,033     1,306,427     1,358,685
              Gross Margin %                              42.8%         40.7%         40.7%
                  Total General & Administrative         100,405       103,417       106,520
                  Total Occupancy                        172,700       179,608       186,792
                  Total Sales & Marketing                107,650       110,880       114,206
                  Total Payroll Expenses                 627,986       634,204       654,143
              Total Expense                            1,008,741     1,028,109     1,061,661


          Net Income                                     370,292       278,319       297,023


          Beginning Cash:                                400,000       252,446       173,882
          Cash + NI                                    400,000       622,738       452,201




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In re U.S. Outdoor Holding LLC
Bankruptcy Case No. 20-32571-dwh11


                               CERTIFICATE - TRUE COPY

DATE:             January 18, 2021

DOCUMENT:         DECLARATION OF EDWARD ARINIELLO IN SUPPORT OF THE
                  CHAPTER 11, SUBCHAPTER V, PLAN DATED DECEMBER 3, 2020

       I hereby certify that I prepared the foregoing copy of the foregoing named
document and have carefully compared the same with the original thereof and it is a
correct copy therefrom and of the whole thereof.

                               CERTIFICATE OF SERVICE

        I hereby certify that I served a copy of the foregoing on:

      U.S. Outdoor Holding LLC
      Attn: Edward A. Ariniello
      600 NW 14th Ave Ste A
      Portland, OR 97209

by mailing a copy of the above-named document to each of the above in a sealed
envelope addressed to the last known address. Each envelope was deposited into the
postal system at Portland, Oregon, on the below date, postage prepaid.
      I hereby certify that the foregoing was served on all CM/ECF participants through
the Court's Case Management/Electronic Case File system on the date set forth below.

 Dated: January 18, 2021                VANDEN BOS & CHAPMAN, LLP



                                        By:/s/Daniel C. Bonham
                                           Douglas R. Ricks, OSB #044026
                                           Daniel C. Bonham, OSB #183104
                                           Of Attorneys for Debtor-in-Possession




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